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                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

CYNTHIA KING,

                       Plaintiff,

v.                                                                     No. 1:21-cv-00993-KK

UNITED STATES OF AMERICA, et al.,

                       Defendants.

                               ORDER TO CURE DEFICIENCY

        THIS MATTER comes before the Court on pro se Plaintiff's Petition to the United States

Grand Jury for Criminal Violations of Civil Rights, Doc. 1, filed October 12, 2021.

        Plaintiff has not paid the $402.00 fee1 for instituting a civil action or filed an “Application

to Proceed in District Court Without Prepaying Fees or Costs (Long Form).” Plaintiff shall have

twenty-one (21) days from entry of this Order to either pay the $402.00 fee or file an “Application

to Proceed in District Court Without Prepaying Fees or Costs (Long Form).” Failure to timely

pay the fee or file an “Application to Proceed in District Court Without Prepaying Fees or Costs

(Long Form)” may result in dismissal of this case without prejudice. Any papers that Plaintiff

files in response to this order must include the civil cause number (No. 1:21-cv-00993-KK) of this

case.

        IT IS ORDERED that, within twenty-one (21) days of entry of this Order, Plaintiff shall

either pay the $402.00 fee or file an “Application to Proceed in District Court Without Prepaying

Fees or Costs (Long Form).”




1
  The fee for instituting any civil action, suit or proceeding is comprised of a $350.00 filing fee,
see 28 U.S.C. §1914, and a $52.00 administrative fee.
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      IT IS ALSO ORDERED that the Clerk shall send to Plaintiff, together with a copy of this

Order, an “Application to Proceed in District Court Without Prepaying Fees or Costs (Long

Form).”

                                          _____________________________________
                                          KIRTAN KHALSA
                                          UNITED STATES MAGISTRATE JUDGE




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